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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

  IN RE: VALSARTAN, LOSARTAN, AND )
  IRBESARTAN PRODUCTS LIABILITY )                         MDL No. 19-2875 (RBK/SAK)
  LITIGATION                      )
                                  )
  This document relates to:       )                       NOTICE OF MOTION TO
  All actions                     )                       SUBSTITUTE SETTLEMENT
                                  )                       COUNSEL



        PLEASE TAKE NOTICE that on May 6, 2024, or as soon thereafter as counsel may be

 heard, Defendants Aurobindo Pharma Ltd., Aurobindo Pharma USA, Inc., and Aurolife Pharma

 LLC (collectively, “Aurobindo”), shall move before this court for an Order granting the

 substitution of Aurobindo’s settlement counsel, Michael T. Scott of Mike Scott Law, for Basil A.

 DiSipio of Lavin, Cedrone, Graver, Boyd & DiSipio in the above-captioned multidistrict

 litigation. Substitution of Aurobindo’s settlement counsel is required because Michael T. Scott

 of Mike Scott Law, whom the Court appointed as settlement counsel for Aurobindo on March 3,

 2022 pursuant to Case Management Order No. 25 (ECF No. 1957), is retiring.



 Dated: March 28, 2024                       Respectfully submitted,

                                             /s/ John P. Lavelle, Jr.
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                                             Aurobindo Pharma USA, Inc., and Aurolife Pharma
                                             LLC
